Case: 1:17-md-02804-DAP Doc #: 4176 Filed: 11/23/21 1 of 8.

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
EASTERN DIVISION

IN RE: NATIONAL PRESCRIPTION MDL 2804

OPIATE LITIGATION

PagelD #: 556137

FILED
NOV 2 3 2021

CLERK. U.S. DISTRICT COURI
NORTHERN DISTRICT OF OHIC
CLEVELAND

Case No. 1:17-md-2804

THIS DOCUMENT RELATES TO:

Judge Dan Aaron Polster

Track Three Cases:

County of Lake, Ohio v.
Purdue Pharma, L.P., et al.,
Case No. 18-op-45032

County of Trumbull, Ohio v.
Purdue Pharma, L.P., et al.,

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) VERDICT FORM
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Case No. 18-op-45079 )

VERDICT FORM
Trumbull County

1 of 4

Case: 1:17-md-02804-DAP Doc #: 4176 Filed: 11/23/21 2 of 8. PagelD #: 556138

FOR ALL QUESTIONS IN THIS VERDICT FORM,
PLEASE CIRCLE YOUR ANSWERS IN INK.

1. Did Trumbull County prove, by the greater weight of the evidence, that oversupply of
legal prescription opioids, and diversion of those opioids into the illicit market outside of

appropriate medical channels, is a public nuisance in Trumbull County?

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Please sign and date the verdict form indicating your agreement with this response.

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If you answered “YES” to Question 1, please go to Question 2.

If you answered “NO” to Question 1, please complete the Verdict Form for Lake

County.

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2. Did Trumbull County prove, by the greater weight of the evidence, that any of the
following Defendants engaged in intentional and/or illegal conduct which was a substantial factor

in producing the public nuisance that you found exists in Question 1?

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CVS Pharmacy, Inc. YES NO

Please sign and date the verdict form indicating your agreement with this response.

3/202!

Date

Walgreen Co. (ves) NO

Please sign and date the verdict form indicating your agreement with this response.

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"Date !

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Case: 1:17-md-02804-DAP Doc #: 4176 Filed: 11/23/21 4 of 8. PagelD #: 556140

Walmart Inc. YES / NO

Pleage bign/and date the verdict form indicating your agreement with this response.

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" Date |

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
EASTERN DIVISION

IN RE: NATIONAL PRESCRIPTION MDL 2804

OPIATE LITIGATION

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Case No. 1:17-md-2804

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Case No. 18-op-45079 )

VERDICT FORM
Lake County

1 of 4

Case: 1:17-md-02804-DAP Doc #: 4176 Filed: 11/23/21 6 of 8. PagelD #: 556142

FOR ALL QUESTIONS IN THIS VERDICT FORM,
PLEASE CIRCLE YOUR ANSWERS IN INK.

1. Did Lake County prove, by the greater weight of the evidence, that oversupply of legal

prescription opioids, and diversion of those opioids into the illicit market outside of appropriate

medical channels, is a public nuisance in Lake County?

Please,sign and date the verdict form indicating your agreement with this response.

iso

Date

If you answered “YES” to Question 1, please go to Question 2.
If you answered “NO” to Question 1, please complete the Verdict Form for Trumbull

County.

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2s Did Lake County prove, by the greater weight of the evidence, that any of the following
Defendants engaged in intentional and/or illegal conduct which was a substantial factor in

producing the public nuisance that you found exists in Question 1?

CVS Pharmacy, Inc. ves ) NO

Please sign pnd date the verdict form indicating your agreement witht iS.response.

N[aa[ao7}

Date /

Walgreen Co. (ves) NO

Please, sign and date the verdict form indicating your agreement with this response.

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’ Date |

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Walmart Inc. (ves) NO

Please sign and date the verdict form indicating your agreement with thisvesponse.
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